Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 1 of 53 PageID 3897




                                  PX 54                   FTC-MOBE-003783
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 2 of 53 PageID 3898




                                  PX 54                   FTC-MOBE-003784
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 3 of 53 PageID 3899




                                  PX 54                   FTC-MOBE-003785
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 4 of 53 PageID 3900




                                  PX 54                   FTC-MOBE-003786
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 5 of 53 PageID 3901




                                  PX 54                   FTC-MOBE-003787
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 6 of 53 PageID 3902




                                  PX 54                   FTC-MOBE-003788
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 7 of 53 PageID 3903




                                  PX 54                   FTC-MOBE-003789
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 8 of 53 PageID 3904




                                  PX 54                   FTC-MOBE-003790
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 9 of 53 PageID 3905




                                  PX 54                   FTC-MOBE-003791
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 10 of 53 PageID 3906




                                   PX 54                  FTC-MOBE-003792
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 11 of 53 PageID 3907




                                   PX 54                  FTC-MOBE-003793
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 12 of 53 PageID 3908




                                   PX 54                  FTC-MOBE-003794
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 13 of 53 PageID 3909




                                   PX 54                  FTC-MOBE-003795
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 14 of 53 PageID 3910




                                   PX 54                  FTC-MOBE-003796
        Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 15 of 53 PageID 3911


To:                   Mobe (mford@mabr.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 86949073 - BIG TICKET AFFILIATE MARKETING -
                      M2455.81526
Sent:                 7/6/2016 9:36:11 AM
Sent As:              ECOM117@USPTO.GOV
Attachments:

                            UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)



                                        IMPORTANT NOTICE REGARDING YOUR
                                           U.S. TRADEMARK APPLICATION

                                 USPTO OFFICE ACTION (OFFICIAL LETTER) HAS ISSUED
                                 ON 7/6/2016 FOR U.S. APPLICATION SERIAL NO. 86949073

Please follow the instructions below:

(1) TO READ THE LETTER: Click on this link or go to http://tsdr.uspto.gov, enter the U.S. application serial number, and click on
“Documents.”

The Office action may not be immediately viewable, to allow for necessary system updates of the application, but will be available within 24
hours of this e-mail notification.

(2) TIMELY RESPONSE IS REQUIRED: Please carefully review the Office action to determine (1) how to respond, and (2) the applicable
response time period. Your response deadline will be calculated from 7/6/2016 (or sooner if specified in the Office action). For information
regarding response time periods, see http://www.uspto.gov/trademarks/process/status/responsetime.jsp.

Do NOT hit “Reply” to this e-mail notification, or otherwise e-mail your response because the USPTO does NOT accept e-mails as
responses to Office actions. Instead, the USPTO recommends that you respond online using the Trademark Electronic Application System
(TEAS) response form located at http://www.uspto.gov/trademarks/teas/response_forms.jsp.

(3) QUESTIONS: For questions about the contents of the Office action itself, please contact the assigned trademark examining attorney. For
technical assistance in accessing or viewing the Office action in the Trademark Status and Document Retrieval (TSDR) system, please e-mail
TSDR@uspto.gov.


                                                              WARNING

Failure to file the required response by the applicable response deadline will result in the ABANDONMENT of your application. For
more information regarding abandonment, see http://www.uspto.gov/trademarks/basics/abandon.jsp.

PRIVATE COMPANY SOLICITATIONS REGARDING YOUR APPLICATION: Private companies not associated with the USPTO are
using information provided in trademark applications to mail or e-mail trademark-related solicitations. These companies often use names that
closely resemble the USPTO and their solicitations may look like an official government document. Many solicitations require that you pay
“fees.”

Please carefully review all correspondence you receive regarding this application to make sure that you are responding to an official document
from the USPTO rather than a private company solicitation. All official USPTO correspondence will be mailed only from the “United States
Patent and Trademark Office” in Alexandria, VA; or sent by e-mail from the domain “@uspto.gov.” For more information on how to handle
private company solicitations, see http://www.uspto.gov/trademarks/solicitation_warnings.jsp.




                                                              PX 54                                FTC-MOBE-003797
           Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 16 of 53 PageID 3912


Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1478 (Rev 09/2006)
OMB No. 0651-0009 (Exp 02/28/2018)


                                     Trademark/Service Mark Application, Principal Register
                                                                TEAS Plus Application
                                                                       Serial Number: 86949073
                                                                       Filing Date: 03/22/2016

   NOTE: Data fields with the * are mandatory under TEAS Plus. The wording "(if applicable)" appears where the field is only mandatory
                                               under the facts of the particular application.




                                                     The table below presents the data as entered.

                                         Input Field                                                                     Entered
             TEAS Plus                                                                  YES
             MARK INFORMATION
             *MARK                                                                      BIG TICKET AFFILIATE MARKETING
             *STANDARD CHARACTERS                                                       YES
             USPTO-GENERATED IMAGE                                                      YES
             LITERAL ELEMENT                                                            BIG TICKET AFFILIATE MARKETING
                                                                                        The mark consists of standard characters, without claim to any
             *MARK STATEMENT
                                                                                        particular font, style, size, or color.
             REGISTER                                                                   Principal
             APPLICANT INFORMATION
             *OWNER OF MARK                                                             Mobe
             INTERNAL ADDRESS                                                           B1-28-8, Soho Suites at DCLL
             *STREET                                                                    No. 20 Jalan Perak, 50450
             *CITY                                                                      Kuala Lumpur
             *COUNTRY                                                                   Malaysia
             LEGAL ENTITY INFORMATION
             *TYPE                                                                      limited company (ltd.)
             * STATE/COUNTRY WHERE LEGALLY ORGANIZED                                    Malaysia
             GOODS AND/OR SERVICES AND BASIS INFORMATION
             * INTERNATIONAL CLASS                                                      035
                                                                                        Development of marketing strategies, concepts and tactics,
                                                                                        namely, audience development, brand awareness, online
             *IDENTIFICATION                                                            community building and digital word of mouth
                                                                                        communications; Providing information in the field of
                                                                                        marketing and on-line marketing media via the Internet
             *FILING BASIS                                                              SECTION 1(b)
             * INTERNATIONAL CLASS                                                      041




                                                                             PX 54                                         FTC-MOBE-003798
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 17 of 53 PageID 3913

                                         Arranging and conducting business seminars in the field of
*IDENTIFICATION
                                         marketing; Conducting workshops and seminars in marketing
*FILING BASIS                            SECTION 1(b)
ADDITIONAL STATEMENTS INFORMATION
*TRANSLATION
(if applicable)

*TRANSLITERATION
(if applicable)

*CLAIMED PRIOR REGISTRATION
(if applicable)

*CONSENT (NAME/LIKENESS)
(if applicable)

*CONCURRENT USE CLAIM
(if applicable)

ATTORNEY INFORMATION
NAME                                     Mark Ford
ATTORNEY DOCKET NUMBER                   M2455.81526
FIRM NAME                                Maschoff Brennan
INTERNAL ADDRESS                         Suite 300
STREET                                   Suite 300
CITY                                     Park City
STATE                                    Utah
COUNTRY                                  United States
ZIP/POSTAL CODE                          84098
EMAIL ADDRESS                            mford@mabr.com
AUTHORIZED TO COMMUNICATE VIA EMAIL      Yes
CORRESPONDENCE INFORMATION
*NAME                                    Mark Ford
FIRM NAME                                Maschoff Brennan
INTERNAL ADDRESS                         Suite 300
*STREET                                  Suite 300
*CITY                                    Park City
*STATE
                                         Utah
(Required for U.S. addresses)

*COUNTRY                                 United States
*ZIP/POSTAL CODE                         84098
*EMAIL ADDRESS                           mford@mabr.com;cwilde@mabr.com; d@mabr.com
*AUTHORIZED TO COMMUNICATE VIA EMAIL     Yes
FEE INFORMATION
APPLICATION FILING OPTION                TEAS Plus
NUMBER OF CLASSES                        2
FEE PER CLASS                            225


                                       PX 54                       FTC-MOBE-003799
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 18 of 53 PageID 3914


*TOTAL FEE PAID                         450
SIGNATURE INFORMATION
* SIGNATURE                             /Mark W. Ford/
* SIGNATORY'S NAME                      Mark Ford
* SIGNATORY'S POSITION                  Attorney of record, Utah bar member
* DATE SIGNED                           03/22/2016




                                   PX 54                           FTC-MOBE-003800
           Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 19 of 53 PageID 3915

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PTO Form 1478 (Rev 09/2006)
OMB No. 0651-0009 (Exp 02/28/2018)




                                           Trademark/Service Mark Application, Principal Register

                                                                     TEAS Plus Application

                                                                       Serial Number: 86949073
                                                                       Filing Date: 03/22/2016
To the Commissioner for Trademarks:
MARK: BIG TICKET AFFILIATE MARKETING (Standard Characters, see mark)
The literal element of the mark consists of BIG TICKET AFFILIATE MARKETING.
The mark consists of standard characters, without claim to any particular font, style, size, or color.

The applicant, Mobe, a limited company (ltd.) legally organized under the laws of Malaysia, having an address of
   B1-28-8, Soho Suites at DCLL
   No. 20 Jalan Perak, 50450
   Kuala Lumpur
   Malaysia

requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

For specific filing basis information for each item, you must view the display within the Input Table.
     International Class 035: Development of marketing strategies, concepts and tactics, namely, audience development, brand awareness, online
community building and digital word of mouth communications; Providing information in the field of marketing and on-line marketing media via
the Internet
Intent to Use: The applicant has a bona fide intention, and is entitled, to use the mark in commerce on or in connection with the identified
goods/services. (15 U.S.C. Section 1051(b)).

For specific filing basis information for each item, you must view the display within the Input Table.
    International Class 041: Arranging and conducting business seminars in the field of marketing; Conducting workshops and seminars in
marketing
Intent to Use: The applicant has a bona fide intention, and is entitled, to use the mark in commerce on or in connection with the identified
goods/services. (15 U.S.C. Section 1051(b)).



The applicant's current Attorney Information:
    Mark Ford of Maschoff Brennan
    Suite 300
    Suite 300
    Park City, Utah 84098
    United States
    mford@mabr.com (authorized)
The attorney docket/reference number is M2455.81526.
The applicant's current Correspondence Information:
    Mark Ford
    Maschoff Brennan
    Suite 300
    Suite 300
    Park City, Utah 84098
    mford@mabr.com;cwilde@mabr.com; d@mabr.com (authorized)
E-mail Authorization: I authorize the USPTO to send e-mail correspondence concerning the application to the applicant or applicant's attorney
at the e-mail address provided above. I understand that a valid e-mail address must be maintained and that the applicant or the applicant's
attorney must file the relevant subsequent application-related submissions via the Trademark Electronic Application System (TEAS). Failure to


                                                                             PX 54                                         FTC-MOBE-003801
       Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 20 of 53 PageID 3916

do so will result in an additional processing fee of $50 per international class of goods/services.

A fee payment in the amount of $450 has been submitted with the application, representing payment for 2 class(es).

                                                                    Declaration

The signatory believes that: if the applicant is filing the application under 15 U.S.C. § 1051(a), the applicant is the owner of the
trademark/service mark sought to be registered; the applicant is using the mark in commerce on or in connection with the goods/services in the
application; the specimen(s) shows the mark as used on or in connection with the goods/services in the application; and/or if the applicant filed
an application under 15 U.S.C. § 1051(b), § 1126(d), and/or § 1126(e), the applicant has a bona fide intention, and is entitled, to use the mark in
commerce on or in connection with the goods/services in the application. The signatory believes that to the best of the signatory's knowledge and
belief, no other persons, except, if applicable, concurrent users, have the right to use the mark in commerce, either in the identical form or in such
near resemblance as to be likely, when used on or in connection with the goods/services of such other persons, to cause confusion or mistake, or
to deceive. The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C.
§ 1001, and that such willful false statements and the like may jeopardize the validity of the application or any registration resulting therefrom,
declares that all statements made of his/her own knowledge are true and all statements made on information and belief are believed to be true.


Signature: /Mark W. Ford/ Date Signed: 03/22/2016
Signatory's Name: Mark Ford
Signatory's Position: Attorney of record, Utah bar member



RAM Sale Number: 86949073
RAM Accounting Date: 03/23/2016

Serial Number: 86949073
Internet Transmission Date: Tue Mar 22 17:04:09 EDT 2016
TEAS Stamp: USPTO/FTK-XX.XXX.XXX.XXX-201603221704095
09732-86949073-550e00cc39ce50f0e0d92b156
35523b9b7e91cf7427ac11cc0fd6d16db28925eb
0-CC-3944-20160322165815254049




                                                                  PX 54                                  FTC-MOBE-003802
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 21 of 53 PageID 3917




                                   PX 54                  FTC-MOBE-003803
       Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 22 of 53 PageID 3918


      Generated on: This page was generated by TSDR on 2018-05-24 16:17:48 EDT
               Mark: BTAM




  US Serial Number: 86949057                                                      Application Filing Mar. 22, 2016
                                                                                              Date:
       Filed as TEAS Yes                                                            Currently TEAS Yes
                Plus:                                                                         Plus:
            Register: Principal
          Mark Type: Service Mark
              Status: A non-final Office Action has been sent (issued) to the applicant after review of the Statement of Use. This is a letter from the
                      examining attorney requiring additional information and/or making an initial refusal. The applicant must respond. To view all documents
                      in this file, click on the Trademark Document Retrieval link at the top of this page.
        Status Date: Nov. 07, 2017
   Publication Date: Aug. 09, 2016                                                        Notice of Oct. 04, 2016
                                                                                    Allowance Date:



                                                                 Mark Information
         Mark Literal BTAM
          Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:

                                                                Goods and Services
Note: The following symbols indicate that the registrant/owner has amended the goods/services:

              Brackets [..] indicate deleted goods/services;
              Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
              Asterisks *..* identify additional (new) wording in the goods/services.

                 For: Development of marketing strategies, concepts and tactics, namely, audience development, brand awareness, online community
                      building and digital word of mouth communications; Providing information in the field of marketing and on-line marketing media via the
                      Internet
        International 035 - Primary Class                                             U.S Class(es): 100, 101, 102
           Class(es):
       Class Status: ACTIVE
               Basis: 1(b)
           First Use: Aug. 10, 2017                                              Use in Commerce: Aug. 10, 2017

                 For: Arranging and conducting business seminars in the field of marketing; Conducting workshops and seminars in marketing
        International 041 - Primary Class                                             U.S Class(es): 100, 101, 107
           Class(es):
       Class Status: ACTIVE
               Basis: 1(b)
           First Use: Aug. 10, 2017                                              Use in Commerce: Aug. 10, 2017

                                                     Basis Information (Case Level)
               Filed Use: No                                       Currently Use: No                                         Amended Use: No
               Filed ITU: Yes                                      Currently ITU: Yes                                        Amended ITU: No
               Filed 44D: No                                       Currently 44D: No                                         Amended 44D: No
               Filed 44E: No                                       Currently 44E: No                                         Amended 44E: No




                                                                          PX 55                                        FTC-MOBE-003804
       Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 23 of 53 PageID 3919

                Filed 66A: No                           Currently 66A: No
           Filed No Basis: No                       Currently No Basis: No

                                               Current Owner(s) Information
          Owner Name: Mobe
     Owner Address: B1-28-8, Soho Suites at DCLL
                    No. 20 Jalan Perak, 50450
                    Kuala Lumpur
                    MALAYSIA
   Legal Entity Type: limited company (ltd.)                         State or Country MALAYSIA
                                                                    Where Organized:

                                           Attorney/Correspondence Information
                                                              Attorney of Record
      Attorney Name: Mark Ford                                        Docket Number: M2455.81525
    Attorney Primary mford@mabr.com                                    Attorney Email Yes
     Email Address:                                                       Authorized:
                                                                Correspondent
      Correspondent MARK FORD
      Name/Address: MASCHOFF BRENNAN
                    SUITE 300
                    SUITE 300
                    PARK CITY, UTAH 84098
                    UNITED STATES
   Correspondent e- mford@mabr.com cwilde@mabr.com                   Correspondent e- Yes
              mail: d@mabr.com                                        mail Authorized:
                                                      Domestic Representative - Not Found

                                                      Prosecution History
                                                                                                                  Proceeding
   Date              Description
                                                                                                                  Number
Apr. 03, 2018     TEAS EXTENSION RECEIVED
Mar. 29, 2018     TEAS RESPONSE TO OFFICE ACTION RECEIVED
Nov. 07, 2017     NOTIFICATION OF NON-FINAL ACTION E-MAILED
Nov. 07, 2017     NON-FINAL ACTION E-MAILED
Nov. 07, 2017     SU - NON-FINAL ACTION - WRITTEN                                                               92986
Oct. 13, 2017     NOTICE OF APPROVAL OF EXTENSION REQUEST E-MAILED
Oct. 12, 2017     STATEMENT OF USE PROCESSING COMPLETE                                                          66530
Sep. 28, 2017     USE AMENDMENT FILED                                                                           66530
Oct. 12, 2017     EXTENSION 2 GRANTED                                                                           66530
Sep. 28, 2017     EXTENSION 2 FILED                                                                             66530
Oct. 06, 2017     CASE ASSIGNED TO INTENT TO USE PARALEGAL                                                      66530
Sep. 28, 2017     TEAS EXTENSION RECEIVED
Sep. 28, 2017     TEAS STATEMENT OF USE RECEIVED
Mar. 29, 2017     NOTICE OF APPROVAL OF EXTENSION REQUEST E-MAILED
Mar. 27, 2017     EXTENSION 1 GRANTED                                                                           98765
Mar. 27, 2017     EXTENSION 1 FILED                                                                             98765
Mar. 27, 2017     TEAS EXTENSION RECEIVED
Oct. 04, 2016     NOA E-MAILED - SOU REQUIRED FROM APPLICANT
Aug. 09, 2016     OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED
Aug. 09, 2016     PUBLISHED FOR OPPOSITION
Jul. 20, 2016     NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED
Jul. 06, 2016     APPROVED FOR PUB - PRINCIPAL REGISTER
Jun. 30, 2016     ASSIGNED TO EXAMINER                                                                          92986
Mar. 28, 2016     NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM
Mar. 25, 2016     NEW APPLICATION ENTERED IN TRAM




                                                              PX 55                                FTC-MOBE-003805
   Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 24 of 53 PageID 3920


                                   TM Staff and Location Information
                                                        TM Staff Information
    TM Attorney: RYDLAND, STEPHANIE DIA                               Law Office LAW OFFICE 117
                                                                      Assigned:
                                                           File Location
Current Location: LAW OFFICE 117 - EXAMINING ATTORNEY           Date in Location: Nov. 07, 2017
                  ASSIGNED




                                                        PX 55                                     FTC-MOBE-003806
           Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 25 of 53 PageID 3921


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PTO Form 1581 (Rev 09/2005)
OMB No. 0651-0054 (Exp 12/31/2020)


                                     Request for Extension of Time to File a Statement of Use
                                                   (15 U.S.C. Section 1051(d))


                                                     The table below presents the data as entered.

                                     Input Field                                                                  Entered
             SERIAL NUMBER                                              86949057
             LAW OFFICE ASSIGNED                                        LAW OFFICE 117
             MARK SECTION
             MARK                                                       BTAM
             STANDARD CHARACTERS                                        YES
             USPTO-GENERATED IMAGE                                      YES
             LITERAL ELEMENT                                            BTAM
             OWNER SECTION (current)
             NAME                                                       Mobe
             INTERNAL ADDRESS                                           B1-28-8, Soho Suites at DCLL
             STREET                                                     No. 20 Jalan Perak, 50450
             CITY                                                       Kuala Lumpur
             COUNTRY                                                    Malaysia
             OWNER SECTION (proposed)
             NAME                                                       Mobe
             INTERNAL ADDRESS                                           B1-28-8, Soho Suites at DCLL
             STREET                                                     No. 20 Jalan Perak, 50450
             CITY                                                       Kuala Lumpur
             COUNTRY                                                    Malaysia
             GOODS AND/OR SERVICES SECTION
             INTERNATIONAL CLASS                                        035
                                                                        Development of marketing strategies, concepts and tactics, namely,
                                                                        audience development, brand awareness, online community building and
             CURRENT IDENTIFICATION
                                                                        digital word of mouth communications; Providing information in the field
                                                                        of marketing and on-line marketing media via the Internet
             GOODS OR SERVICES                                          KEEP ALL LISTED
             INTERNATIONAL CLASS                                        041
                                                                        Arranging and conducting business seminars in the field of marketing;
             CURRENT IDENTIFICATION
                                                                        Conducting workshops and seminars in marketing
             GOODS OR SERVICES                                          KEEP ALL LISTED
             EXTENSION SECTION




                                                                              PX 55                                        FTC-MOBE-003807
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EXTENSION NUMBER                  3
                                  The applicant believes that it has made valid use of the mark in commerce,
                                  and is in the process of preparing (or is concurrently filing) a Statement of
ONGOING EFFORT
                                  Use (SOU), but that if the USPTO finds the SOU to be fatally defective, the
                                  applicant will need additional time to file a new SOU
ALLOWANCE MAIL DATE               10/04/2016
STATEMENT OF USE                  NO
PAYMENT SECTION
NUMBER OF CLASSES                 2
SUBTOTAL AMOUNT [EXTENSION FEE]   250
TOTAL AMOUNT                      250
SIGNATURE SECTION
SIGNATURE                         /Mark W. Ford/
SIGNATORY'S NAME                  Mark W. Ford
SIGNATORY'S POSITION              Attorney of Record
DATE SIGNED                       04/03/2018
FILING INFORMATION
SUBMIT DATE                       Tue Apr 03 12:30:46 EDT 2018
                                  USPTO/ESU-XXX.XX.XXX.XXX-
                                  20180403123046295655-8694
                                  9057-5108f6b421821371598d
TEAS STAMP                        7b16074a58fec6f2c897b21d8
                                  e95c21fca4e6d2f3951640-CC
                                  -13001-201804031217186803
                                  61




                                        PX 55                               FTC-MOBE-003808
           Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 27 of 53 PageID 3923

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PTO Form 1581 (Rev 09/2005)
OMB No. 0651-0054 (Exp 12/31/2020)




                                                                    SOU Extension Request
                                                                  (15 U.S.C. Section 1051(d))
To the Commissioner for Trademarks:

MARK: BTAM
SERIAL NUMBER: 86949057

The applicant, Mobe, having an address of
   B1-28-8, Soho Suites at DCLL
   No. 20 Jalan Perak, 50450
   Kuala Lumpur,
   Malaysia
   d@mabr.com (authorized)
requests a six-month extension of time to file the Statement of Use under 37 C.F.R. Section 2.89 in this application.                        The Notice of Allowance
mailing date was 10/04/2016.

For International Class 035:
Current identification: Development of marketing strategies, concepts and tactics, namely, audience development, brand awareness, online
community building and digital word of mouth communications; Providing information in the field of marketing and on-line marketing media via
the Internet

For a trademark/service mark: The applicant has a continued bona fide intention, and is entitled, to use the mark in commerce on or in connection
with all of the goods/services listed in the Notice of Allowance or as subsequently modified for this specific class; for a collective/certification
mark: the applicant has a continued bona fide intention, and is entitled, to exercise legitimate control over the use of the mark in commerce on or
in connection with the goods/services/collective membership organization listed in the Notice of Allowance, or as subsequently modified for this
specific class.


For International Class 041:
Current identification: Arranging and conducting business seminars in the field of marketing; Conducting workshops and seminars in marketing

For a trademark/service mark: The applicant has a continued bona fide intention, and is entitled, to use the mark in commerce on or in connection
with all of the goods/services listed in the Notice of Allowance or as subsequently modified for this specific class; for a collective/certification
mark: the applicant has a continued bona fide intention, and is entitled, to exercise legitimate control over the use of the mark in commerce on or
in connection with the goods/services/collective membership organization listed in the Notice of Allowance, or as subsequently modified for this
specific class.



This is the third extension request. The applicant has made the following ongoing efforts to use the mark in commerce on or in connection with
each of those goods/services covered by the extension request: The applicant believes that it has made valid use of the mark in commerce, and is
in the process of preparing (or is concurrently filing) a Statement of Use (SOU), but that if the USPTO finds the SOU to be fatally defective, the
applicant will need additional time to file a new SOU



A fee payment in the amount of $250 will be submitted with the form, representing payment for 2 classes.


                                                                               Declaration

STATEMENTS: The signatory believes that: the applicant has a continued bona fide intention, and is entitled, to use the mark in commerce on or
in connection with all the goods/services under Section 1(b) in the notice of allowance or as subsequently modified, or, if applicable, the
applicant has a continued bona fide intention, and is entitled, to exercise legitimate control over the use of the mark in commerce on or in
connection with all the goods/services/collective membership organization under Section 1(b) in the notice of allowance or as subsequently



                                                                             PX 55                                         FTC-MOBE-003809
       Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 28 of 53 PageID 3924

modified; and that to the best of the signatory's knowledge and belief, no other persons, except, if applicable, members and concurrent users,
have the right to use the mark in commerce, either in the identical form or in such near resemblance as to be likely, when used on or in
connection with the goods/services/collective membership organization of such other persons, to cause confusion or mistake, or to deceive.

DECLARATION: The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under
18 U.S.C. §1001, and that such willful false statements and the like may jeopardize the validity of the application or submission or any resulting
registration, declares that all statements made of his/her own knowledge are true and that all statements made on information and belief are
believed to be true.


Signature: /Mark W. Ford/ Date Signed: 04/03/2018
Signatory's Name: Mark W. Ford
Signatory's Position: Attorney of Record

RAM Sale Number: 86949057
RAM Accounting Date: 04/03/2018

Serial Number: 86949057
Internet Transmission Date: Tue Apr 03 12:30:46 EDT 2018
TEAS Stamp: USPTO/ESU-XXX.XX.XXX.XXX-201804031230462
95655-86949057-5108f6b421821371598d7b160
74a58fec6f2c897b21d8e95c21fca4e6d2f39516
40-CC-13001-20180403121718680361




                                                                 PX 55                                 FTC-MOBE-003810
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 29 of 53 PageID 3925




                                   PX 55                  FTC-MOBE-003811
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PTO Form 1957 (Rev 10/2011)
OMB No. 0651-0050 (Exp 09/20/2020)


                                                              Response to Office Action


                                                     The table below presents the data as entered.

                                     Input Field                                                                     Entered
 SERIAL NUMBER                                                         86949057
 LAW OFFICE ASSIGNED                                                   LAW OFFICE 117
 MARK SECTION
 MARK                                                                  https://tmng-al.uspto.gov/resting2/api/img/86949057/large
 LITERAL ELEMENT                                                       BTAM
 STANDARD CHARACTERS                                                   YES
 USPTO-GENERATED IMAGE                                                 YES
                                                                       The mark consists of standard characters, without claim to any particular font style,
 MARK STATEMENT
                                                                       size or color.
 GOODS AND/OR SERVICES SECTION (035)(current)
 INTERNATIONAL CLASS                                                   035
 DESCRIPTION

 Development of marketing strategies, concepts and tactics, namely, audience development, brand awareness, online community building and
 digital word of mouth communications; Providing information in the field of marketing and on-line marketing media via the Internet
        FIRST USE ANYWHERE DATE                                        At least as early as 08/10/2017
        FIRST USE IN COMMERCE DATE                                     At least as early as 08/10/2017
 FILING BASIS                                                          Section 1(b)
 GOODS AND/OR SERVICES SECTION (035)(proposed)
 INTERNATIONAL CLASS                                                   035
 DESCRIPTION

 Development of marketing strategies, concepts and tactics, namely, audience development, brand awareness, online community building and
 digital word of mouth communications; Providing information in the field of marketing and on-line marketing media via the Internet
       FIRST USE ANYWHERE DATE                                         At least as early as 03/08/2018
       FIRST USE IN COMMERCE DATE                                      At least as early as 03/08/2018
                                                                       "The substitute (or new, or originally submitted, if appropriate) specimen(s)
                                                                       was/were in use in commerce at least as early as the filing date of the
                                                                       application"[for an application based on Section 1(a), Use in Commerce] OR "
                                                                       The substitute (or new, or originally submitted, if appropriate) specimen(s)
       STATEMENT TYPE                                                  was/were in use in commerce prior either to the filing of the Amendment to
                                                                       Allege Use or expiration of the filing deadline for filing a Statement of Use" [for
                                                                       an application based on Section 1(b) Intent-to-Use]. OR "The attached specimen is
                                                                       a true copy of the specimen that was originally submitted with the application,
                                                                       amendment to allege use, or statement of use" [for an illegible specimen].
       SPECIMEN FILE NAME(S)

       ORIGINAL PDF FILE                                               SPU0-19234252130-20180329174801684266_._Specimen1.pdf




                                                                             PX 55                                         FTC-MOBE-003812
     Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 31 of 53 PageID 3927

   CONVERTED PDF FILE(S)
                                                       \\TICRS\EXPORT17\IMAGEOUT17\869\490\86949057\xml10\ROA0002.JPG
   (3 pages)

                                                       \\TICRS\EXPORT17\IMAGEOUT17\869\490\86949057\xml10\ROA0003.JPG
                                                       \\TICRS\EXPORT17\IMAGEOUT17\869\490\86949057\xml10\ROA0004.JPG
   SPECIMEN DESCRIPTION                                Website printouts of mobe.com
DELETED FILING BASIS                                   1(b)
GOODS AND/OR SERVICES SECTION (041)(current)
INTERNATIONAL CLASS                                    041
DESCRIPTION

Arranging and conducting business seminars in the field of marketing; Conducting workshops and seminars in marketing
   FIRST USE ANYWHERE DATE                             At least as early as 08/10/2017
   FIRST USE IN COMMERCE DATE                          At least as early as 08/10/2017
FILING BASIS                                           Section 1(b)
GOODS AND/OR SERVICES SECTION (041)(proposed)
INTERNATIONAL CLASS                                    041
DESCRIPTION

Arranging and conducting business seminars in the field of marketing; Conducting workshops and seminars in marketing
   FIRST USE ANYWHERE DATE                             At least as early as 03/08/2018
   FIRST USE IN COMMERCE DATE                          At least as early as 03/08/2018
                                                       "The substitute (or new, or originally submitted, if appropriate) specimen(s)
                                                       was/were in use in commerce at least as early as the filing date of the
                                                       application"[for an application based on Section 1(a), Use in Commerce] OR "
                                                       The substitute (or new, or originally submitted, if appropriate) specimen(s)
   STATEMENT TYPE                                      was/were in use in commerce prior either to the filing of the Amendment to
                                                       Allege Use or expiration of the filing deadline for filing a Statement of Use" [for
                                                       an application based on Section 1(b) Intent-to-Use]. OR "The attached specimen is
                                                       a true copy of the specimen that was originally submitted with the application,
                                                       amendment to allege use, or statement of use" [for an illegible specimen].
   SPECIMEN FILE NAME(S)

   ORIGINAL PDF FILE                                   SPU1-19234252130-20180329174801684266_._Specimen2.pdf
   CONVERTED PDF FILE(S)
                                                       \\TICRS\EXPORT17\IMAGEOUT17\869\490\86949057\xml10\ROA0005.JPG
   (6 pages)

                                                       \\TICRS\EXPORT17\IMAGEOUT17\869\490\86949057\xml10\ROA0006.JPG
                                                       \\TICRS\EXPORT17\IMAGEOUT17\869\490\86949057\xml10\ROA0007.JPG
                                                       \\TICRS\EXPORT17\IMAGEOUT17\869\490\86949057\xml10\ROA0008.JPG
                                                       \\TICRS\EXPORT17\IMAGEOUT17\869\490\86949057\xml10\ROA0009.JPG
                                                       \\TICRS\EXPORT17\IMAGEOUT17\869\490\86949057\xml10\ROA0010.JPG
   SPECIMEN DESCRIPTION                                Website printouts of mobe.com
DELETED FILING BASIS                                   1(b)
SIGNATURE SECTION
DECLARATION SIGNATURE                                  /Mark W. Ford/
SIGNATORY'S NAME                                       Mark W. Ford



                                                              PX 55                              FTC-MOBE-003813
           Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 32 of 53 PageID 3928

 SIGNATORY'S POSITION                                                  Attorney of Record
 DATE SIGNED                                                           03/29/2018
 RESPONSE SIGNATURE                                                    /Mark W. Ford/
 SIGNATORY'S NAME                                                      Mark W. Ford
 SIGNATORY'S POSITION                                                  Attorney of Record
 DATE SIGNED                                                           03/29/2018
 AUTHORIZED SIGNATORY                                                  YES
 FILING INFORMATION SECTION
 SUBMIT DATE                                                           Thu Mar 29 18:13:58 EDT 2018
                                                                       USPTO/ROA-XXX.XX.XXX.XXX-
                                                                       20180329181358666543-8694
                                                                       9057-510f8c0e52c367b854a5
 TEAS STAMP
                                                                       981379349fde1ab73120ec2cb
                                                                       a7a942ba0ede3184171-N/A-N
                                                                       /A-20180329174801684266




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PTO Form 1957 (Rev 10/2011)
OMB No. 0651-0050 (Exp 09/20/2020)




                                                                   Response to Office Action
To the Commissioner for Trademarks:
Application serial no. 86949057 BTAM(Standard Characters, see https://tmng-al.uspto.gov/resting2/api/img/86949057/large) has been amended
as follows:

CLASSIFICATION AND LISTING OF GOODS/SERVICES
Applicant proposes to amend the following class of goods/services in the application:
Current: Class 035 for Development of marketing strategies, concepts and tactics, namely, audience development, brand awareness, online
community building and digital word of mouth communications; Providing information in the field of marketing and on-line marketing media via
the Internet
Original Filing Basis:
Filing Basis: Section 1(b), Intent to Use: For a trademark or service mark application: As of the application filing date, the applicant had a
bona fide intention, and was entitled, to use the mark in commerce on or in connection with the identified goods/services in the application. For a
collective trademark, collective service mark, or collective membership mark application: As of the application filing date, the applicant had a
bona fide intention, and was entitled, to exercise legitimate control over the use of the mark in commerce by members on or in connection with
the identified goods/services/collective membership organization. For a certification mark application: As of the application filing date, the
applicant had a bona fide intention, and was entitled, to exercise legitimate control over the use of the mark in commerce by authorized users in
connection with the identified goods/services, and the applicant will not engage in the production or marketing of the goods/services to which the
mark is applied, except to advertise or promote recognition of the certification program or of the goods/services that meet the certification
standards of the applicant.

In International Class 035, the mark was first used at least as early as 08/10/2017 and first used in commerce at least as early as 08/10/2017 .

Proposed: Class 035 for Development of marketing strategies, concepts and tactics, namely, audience development, brand awareness, online
community building and digital word of mouth communications; Providing information in the field of marketing and on-line marketing media via
the Internet

Deleted Filing Basis: 1(b)
In International Class 035, the mark was first used at least as early as 03/08/2018 . and first used in commerce at least as early as 03/08/2018 .

Applicant hereby submits one(or more) specimen(s) for Class 035 . The specimen(s) submitted consists of Website printouts of mobe.com .


                                                                             PX 55                                         FTC-MOBE-003814
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"The substitute (or new, or originally submitted, if appropriate) specimen(s) was/were in use in commerce at least as early as the
filing date of the application"[for an application based on Section 1(a), Use in Commerce] OR "The substitute (or new, or originally
submitted, if appropriate) specimen(s) was/were in use in commerce prior either to the filing of the Amendment to Allege Use or
expiration of the filing deadline for filing a Statement of Use" [for an application based on Section 1(b) Intent-to-Use]. OR "The attached
specimen is a true copy of the specimen that was originally submitted with the application, amendment to allege use, or statement of use"
[for an illegible specimen].
Original PDF file:
SPU0-19234252130-20180329174801684266_._Specimen1.pdf
Converted PDF file(s) ( 3 pages)
Specimen File1
Specimen File2
Specimen File3

Applicant proposes to amend the following class of goods/services in the application:
Current: Class 041 for Arranging and conducting business seminars in the field of marketing; Conducting workshops and seminars in marketing
Original Filing Basis:
Filing Basis: Section 1(b), Intent to Use: For a trademark or service mark application: As of the application filing date, the applicant had a
bona fide intention, and was entitled, to use the mark in commerce on or in connection with the identified goods/services in the application. For a
collective trademark, collective service mark, or collective membership mark application: As of the application filing date, the applicant had a
bona fide intention, and was entitled, to exercise legitimate control over the use of the mark in commerce by members on or in connection with
the identified goods/services/collective membership organization. For a certification mark application: As of the application filing date, the
applicant had a bona fide intention, and was entitled, to exercise legitimate control over the use of the mark in commerce by authorized users in
connection with the identified goods/services, and the applicant will not engage in the production or marketing of the goods/services to which the
mark is applied, except to advertise or promote recognition of the certification program or of the goods/services that meet the certification
standards of the applicant.

In International Class 041, the mark was first used at least as early as 08/10/2017 and first used in commerce at least as early as 08/10/2017 .

Proposed: Class 041 for Arranging and conducting business seminars in the field of marketing; Conducting workshops and seminars in
marketing

Deleted Filing Basis: 1(b)
In International Class 041, the mark was first used at least as early as 03/08/2018 . and first used in commerce at least as early as 03/08/2018 .

Applicant hereby submits one(or more) specimen(s) for Class 041 . The specimen(s) submitted consists of Website printouts of mobe.com .
"The substitute (or new, or originally submitted, if appropriate) specimen(s) was/were in use in commerce at least as early as the
filing date of the application"[for an application based on Section 1(a), Use in Commerce] OR "The substitute (or new, or originally
submitted, if appropriate) specimen(s) was/were in use in commerce prior either to the filing of the Amendment to Allege Use or
expiration of the filing deadline for filing a Statement of Use" [for an application based on Section 1(b) Intent-to-Use]. OR "The attached
specimen is a true copy of the specimen that was originally submitted with the application, amendment to allege use, or statement of use"
[for an illegible specimen].
Original PDF file:
SPU1-19234252130-20180329174801684266_._Specimen2.pdf
Converted PDF file(s) ( 6 pages)
Specimen File1
Specimen File2
Specimen File3
Specimen File4
Specimen File5
Specimen File6

SIGNATURE(S)
Declaration Signature


DECLARATION: The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both,
under 18 U.S.C. § 1001, and that such willful false statements and the like may jeopardize the validity of the application or submission or
any registration resulting therefrom, declares that, if the applicant submitted the application or allegation of use (AOU) unsigned, all
statements in the application or AOU and this submission based on the signatory's own knowledge are true, and all statements in the
application or AOU and this submission made on information and belief are believed to be true.



                                                                  PX 55                                  FTC-MOBE-003815
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STATEMENTS FOR UNSIGNED SECTION 1(a) APPLICATION/AOU: If the applicant filed an unsigned application under 15 U.S.C.
§1051(a) or AOU under 15 U.S.C. §1051(c), the signatory additionally believes that: the applicant is the owner of the mark sought to be
registered; the mark is in use in commerce and was in use in commerce as of the filing date of the application or AOU on or in connection with
the goods/services/collective membership organization in the application or AOU; the original specimen(s), if applicable, shows the mark in use
in commerce as of the filing date of the application or AOU on or in connection with the goods/services/collective membership organization in
the application or AOU; for a collective trademark, collective service mark, collective membership mark application, or certification mark
application, the applicant is exercising legitimate control over the use of the mark in commerce and was exercising legitimate control over the
use of the mark in commerce as of the filing date of the application or AOU; for a certification mark application, the applicant is not engaged in
the production or marketing of the goods/services to which the mark is applied, except to advertise or promote recognition of the certification
program or of the goods/services that meet the certification standards of the applicant. To the best of the signatory's knowledge and belief, no
other persons, except, if applicable, authorized users, members, and/or concurrent users, have the right to use the mark in commerce,
either in the identical form or in such near resemblance as to be likely, when used on or in connection with the goods/services/collective
membership organization of such other persons, to cause confusion or mistake, or to deceive.

STATEMENTS FOR UNSIGNED SECTION 1(b)/SECTION 44 APPLICATION AND FOR SECTION 66(a)
COLLECTIVE/CERTIFICATION MARK APPLICATION: If the applicant filed an unsigned application under 15 U.S.C. §§ 1051(b),
1126(d), and/or 1126(e), or filed a collective/certification mark application under 15 U.S.C. §1141f(a), the signatory additionally believes that:
for a trademark or service mark application, the applicant is entitled to use the mark in commerce on or in connection with the goods/services
specified in the application; the applicant has a bona fide intention to use the mark in commerce and had a bona fide intention to use the mark in
commerce as of the application filing date; for a collective trademark, collective service mark, collective membership mark, or certification
mark application, the applicant has a bona fide intention, and is entitled, to exercise legitimate control over the use of the mark in commerce and
had a bona fide intention, and was entitled, to exercise legitimate control over the use of the mark in commerce as of the application filing date;
the signatory is properly authorized to execute the declaration on behalf of the applicant; for a certification mark application, the applicant will
not engage in the production or marketing of the goods/services to which the mark is applied, except to advertise or promote recognition of the
certification program or of the goods/services that meet the certification standards of the applicant. To the best of the signatory's knowledge
and belief, no other persons, except, if applicable, authorized users, members, and/or concurrent users, have the right to use the mark in
commerce, either in the identical form or in such near resemblance as to be likely, when used on or in connection with the
goods/services/collective membership organization of such other persons, to cause confusion or mistake, or to deceive.



Signature: /Mark W. Ford/ Date: 03/29/2018
Signatory's Name: Mark W. Ford
Signatory's Position: Attorney of Record

Response Signature
Signature: /Mark W. Ford/ Date: 03/29/2018
Signatory's Name: Mark W. Ford
Signatory's Position: Attorney of Record

The signatory has confirmed that he/she is an attorney who is a member in good standing of the bar of the highest court of a U.S. state, which
includes the District of Columbia, Puerto Rico, and other federal territories and possessions; and he/she is currently the owner's/holder's attorney
or an associate thereof; and to the best of his/her knowledge, if prior to his/her appointment another U.S. attorney or a Canadian attorney/agent
not currently associated with his/her company/firm previously represented the owner/holder in this matter: (1) the owner/holder has filed or is
concurrently filing a signed revocation of or substitute power of attorney with the USPTO; (2) the USPTO has granted the request of the prior
representative to withdraw; (3) the owner/holder has filed a power of attorney appointing him/her in this matter; or (4) the owner's/holder's
appointed U.S. attorney or Canadian attorney/agent has filed a power of attorney appointing him/her as an associate attorney in this matter.


Serial Number: 86949057
Internet Transmission Date: Thu Mar 29 18:13:58 EDT 2018
TEAS Stamp: USPTO/ROA-XXX.XX.XXX.XXX-201803291813586
66543-86949057-510f8c0e52c367b854a598137
9349fde1ab73120ec2cba7a942ba0ede3184171-
N/A-N/A-20180329174801684266




                                                                  PX 55                                  FTC-MOBE-003816
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 35 of 53 PageID 3931




                                   PX 55                  FTC-MOBE-003817
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 36 of 53 PageID 3932




                                   PX 55                  FTC-MOBE-003818
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 37 of 53 PageID 3933




                                   PX 55                  FTC-MOBE-003819
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 38 of 53 PageID 3934




                                   PX 55                  FTC-MOBE-003820
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 39 of 53 PageID 3935




                                   PX 55                  FTC-MOBE-003821
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 40 of 53 PageID 3936




                                   PX 55                  FTC-MOBE-003822
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 41 of 53 PageID 3937




                                   PX 55                  FTC-MOBE-003823
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 42 of 53 PageID 3938




                                   PX 55                  FTC-MOBE-003824
Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 43 of 53 PageID 3939




                                   PX 55                  FTC-MOBE-003825
        Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 44 of 53 PageID 3940


To:                   Mobe (mford@mabr.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 86949057 - BTAM - M2455.81525
Sent:                 11/7/2017 4:06:25 PM
Sent As:              ECOM117@USPTO.GOV
Attachments:

                                   UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
                         OFFICE ACTION (OFFICIAL LETTER) ABOUT APPLICANT’S TRADEMARK APPLICATION

                                    U.S. APPLICATION
                                    SERIAL NO. 86949057

                                    MARK: BTAM
                                                             *86949057*
                                    CORRESPONDENT
                                    ADDRESS:                 CLICK HERE TO RESPOND TO THIS
                                        MARK FORD            LETTER:
                                        MASCHOFF             http://www.uspto.gov/trademarks/teas/response_forms.jsp
                                    BRENNAN
                                        SUITE 300            VIEW YOUR APPLICATION FILE
                                        SUITE 300
                                        PARK CITY, UT
                                    84098
                                    APPLICANT: Mobe

                                    CORRESPONDENT’S
                                    REFERENCE/DOCKET
                                    NO:
                                       M2455.81525
                                    CORRESPONDENT
                                    E-MAIL ADDRESS:
                                       mford@mabr.com



                                                            OFFICE ACTION

                                   STRICT DEADLINE TO RESPOND TO THIS LETTER
TO AVOID ABANDONMENT OF APPLICANT’S TRADEMARK APPLICATION, THE USPTO MUST RECEIVE APPLICANT’S
COMPLETE RESPONSE TO THIS LETTER WITHIN 6 MONTHS OF THE ISSUE/MAILING DATE BELOW. A RESPONSE
TRANSMITTED THROUGH THE TRADEMARK ELECTRONIC APPLICATION SYSTEM (TEAS) MUST BE RECEIVED BEFORE
MIDNIGHT EASTERN TIME OF THE LAST DAY OF THE RESPONSE PERIOD.


ISSUE/MAILING DATE: 11/7/2017

The statement of use has been reviewed by the assigned trademark examining attorney. Applicant must respond timely and completely to the
issue(s) below. 15 U.S.C. §1062(b); 37 C.F.R. §§2.62(a), 2.65(a); TMEP §§711, 718.03.


TRADEMARK ACT SECTIONS 1, 2, 3, AND 45 REFUSAL – FAILURE TO FUNCTION
Registration is refused because the applied-for mark, as used on the specimen of record, merely identifies a process or system; it does not
function as a service mark to indicate the source of applicant’s services and to identify and distinguish them from others. Trademark Act
Sections 1, 2, 3, and 45, 15 U.S.C. §§1051-1053, 1127; see In re Universal Oil Prods. Co., 476 F.2d 653, 655-56, 177 USPQ 456, 457 (C.C.P.A.
1973) (holding PACOL and PENEX, as used on the specimen, solely identified the names of catalytic processes and did not show service mark
use for applicant’s “research, development, evaluation, market and economic studies, consultation, design, engineering, and technical
services”); TMEP §1301.02(e).

A process or system is only a way of doing something, and is not generally a service. TMEP §1301.02(e). Thus, to be registrable, the evidence
of record must show use of the name of a process or system to identify and distinguish applicant’s services from those of others and to indicate



                                                               PX 55                                        FTC-MOBE-003826
       Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 45 of 53 PageID 3941

the source of applicant’s services. In re Hughes Aircraft Co., 222 USPQ 263, 264 (TTAB 1984); Liqwacon Corp. v. Browning-Ferris Indus.,
Inc., 203 USPQ 305, 318 (TTAB 1979); TMEP §§904.07(b), 1301.02(e).

In this case, the specimen shows the applied-for mark used solely to identify a process or system because it states “the BTAM Method that I
teach . . . all my coaches know the BTAM Method like the back of their hands” showing that BTAM is merely a method or process and does not
function as a source for the applied-for services.

Additionally, the applied-for mark, as used on the specimen of record, does not function as a service mark to identify and distinguish applicant’s
services from those of others and to indicate the source of applicant’s services. Trademark Act Sections 1, 2, 3, and 45, 15 U.S.C. §§1051-1053,
1127; see In re Keep A Breast Found., 123 USPQ2d 1869, 1879-80 (TTAB 2017); In re Moody’s Investors Serv., Inc. , 13 USPQ2d 2043,
2048-49 (TTAB 1989); TMEP §§904.07(b), 1301.02 et seq. The applied-for mark, as shown on the specimen, does not function as a service
mark because it appears only in the mass text on the pages and does not show source indication for the applied-for services in either class.

Applicant may respond to the refusal by submitting a substitute specimen for each applicable international class that shows the applied-for mark
used in commerce as a service mark for the services in the statement of use, and the following statement, verified with an affidavit or signed
declaration under 37 C.F.R. §2.20: “ The substitute specimen was in use in commerce prior to the expiration of the deadline for filing a
statement of use.” 37 C.F.R. §2.59(b)(2); TMEP §904.05; see 37 C.F.R. §2.193(e)(1). If submitting a substitute specimen requires an
amendment to the dates of use, applicant must also verify the amended dates. 37 C.F.R. §2.71(c); TMEP §904.05.

Examples of specimens for services include advertising and marketing materials, brochures, photographs of business signage and billboards, and
webpages that show the mark used in the actual sale, rendering, or advertising of the services. See TMEP §1301.04(a), (h)(iv)(C). Specimens
comprising advertising and promotional materials must show a direct association between the mark and the services. TMEP §1301.04(f)(ii).

To submit a verified substitute specimen online using the Trademark Electronic Application System (TEAS) response form, applicant should (1)
answer “Yes” to form wizard question #2; and then, continuing on to the next portion of the form, do the following for each relevant class for
which a substitute specimen is being submitted: (2) under “Classification and Listing of Goods/Services/Collective Membership Organization,”
select the following statement, “Check here to modify the current classification number; listing of goods/services; dates of use; and/or filing
basis; or to submit a substitute specimen or foreign registration certificate. If not checked, the changes will be ignored.”; (3) under “Specimen
File,” attach a specimen (attachment may not exceed 5 megabytes); (4) describe what the specimen consists of; and (5) select the following
statement: “The substitute (or new, or originally submitted, if appropriate) specimen(s) was/were in use in commerce at least as early as the
filing date of the application” [for an application based on Section 1(a), Use in Commerce] OR “The substitute (or new, or originally
submitted, if appropriate) specimen(s) was/were in use in commerce prior either to the filing of the Amendment to Allege Use or expiration of
the filing deadline for filing a Statement of Use” [for an application based on Section 1(b) Intent-to-Use]. Note: When submitting a
verified substitute specimen, the TEAS online response form requires two signatures: one in the “Declaration Signature” section and one in the
“Response Signature” section.

Applicant may not withdraw the statement of use. 37 C.F.R. §2.88(f); TMEP §1109.17.

If the applicant has any questions or requires assistance in responding to this Office Action, please contact the assigned examining attorney.


                                             /Stephanie Rydland/
                                             Examining Attorney
                                             Law Office 117
                                             (571) 272-7226
                                             stephanie.rydland@uspto.gov


TEAS PLUS OR TEAS REDUCED FEE (TEAS RF) APPLICANTS – TO MAINTAIN LOWER FEE, ADDITIONAL
REQUIREMENTS MUST BE MET, INCLUDING SUBMITTING DOCUMENTS ONLINE: Applicants who filed their application
online using the lower-fee TEAS Plus or TEAS RF application form must (1) file certain documents online using TEAS, including responses to
Office actions (see TMEP §§819.02(b), 820.02(b) for a complete list of these documents); (2) maintain a valid e-mail correspondence address;
and (3) agree to receive correspondence from the USPTO by e-mail throughout the prosecution of the application. See 37 C.F.R. §§2.22(b),
2.23(b); TMEP §§819, 820. TEAS Plus or TEAS RF applicants who do not meet these requirements must submit an additional processing fee of
$125 per class of goods and/or services. 37 C.F.R. §§2.6(a)(1)(v), 2.22(c), 2.23(c); TMEP §§819.04, 820.04. However, in certain situations,
TEAS Plus or TEAS RF applicants may respond to an Office action by authorizing an examiner’s amendment by telephone or e-mail without
incurring this additional fee.

TO RESPOND TO THIS LETTER: Go to http://www.uspto.gov/trademarks/teas/response_forms.jsp. Please wait 48-72 hours from the
issue/mailing date before using the Trademark Electronic Application System (TEAS), to allow for necessary system updates of the application.
For technical assistance with online forms, e-mail TEAS@uspto.gov. For questions about the Office action itself, please contact the assigned



                                                                 PX 55                                  FTC-MOBE-003827
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trademark examining attorney. E-mail communications will not be accepted as responses to Office actions; therefore, do not respond to
this Office action by e-mail.

All informal e-mail communications relevant to this application will be placed in the official application record.

WHO MUST SIGN THE RESPONSE: It must be personally signed by an individual applicant or someone with legal authority to bind an
applicant (i.e., a corporate officer, a general partner, all joint applicants). If an applicant is represented by an attorney, the attorney must sign the
response.

PERIODICALLY CHECK THE STATUS OF THE APPLICATION: To ensure that applicant does not miss crucial deadlines or official
notices, check the status of the application every three to four months using the Trademark Status and Document Retrieval (TSDR) system at
http://tsdr.uspto.gov/. Please keep a copy of the TSDR status screen. If the status shows no change for more than six months, contact the
Trademark Assistance Center by e-mail at TrademarkAssistanceCenter@uspto.gov or call 1-800-786-9199. For more information on checking
status, see http://www.uspto.gov/trademarks/process/status/.

TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: Use the TEAS form at http://www.uspto.gov/trademarks/teas/correspondence.jsp.




                                                                    PX 55                                   FTC-MOBE-003828
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To:                   Mobe (mford@mabr.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 86949057 - BTAM - M2455.81525
Sent:                 11/7/2017 4:06:27 PM
Sent As:              ECOM117@USPTO.GOV
Attachments:

                            UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)



                                        IMPORTANT NOTICE REGARDING YOUR
                                           U.S. TRADEMARK APPLICATION

                                 USPTO OFFICE ACTION (OFFICIAL LETTER) HAS ISSUED
                                 ON 11/7/2017 FOR U.S. APPLICATION SERIAL NO. 86949057

Please follow the instructions below:

(1) TO READ THE LETTER: Click on this link or go to http://tsdr.uspto.gov, enter the U.S. application serial number, and click on
“Documents.”

The Office action may not be immediately viewable, to allow for necessary system updates of the application, but will be available within 24
hours of this e-mail notification.

(2) TIMELY RESPONSE IS REQUIRED: Please carefully review the Office action to determine (1) how to respond, and (2) the applicable
response time period. Your response deadline will be calculated from 11/7/2017 (or sooner if specified in the Office action). A response
transmitted through the Trademark Electronic Application System (TEAS) must be received before midnight Eastern Time of the last day of the
response period. For information regarding response time periods, see http://www.uspto.gov/trademarks/process/status/responsetime.jsp.

Do NOT hit “Reply” to this e-mail notification, or otherwise e-mail your response because the USPTO does NOT accept e-mails as
responses to Office actions. Instead, the USPTO recommends that you respond online using the TEAS response form located at
http://www.uspto.gov/trademarks/teas/response_forms.jsp.

(3) QUESTIONS: For questions about the contents of the Office action itself, please contact the assigned trademark examining attorney. For
technical assistance in accessing or viewing the Office action in the Trademark Status and Document Retrieval (TSDR) system, please e-mail
TSDR@uspto.gov.


                                                              WARNING

Failure to file the required response by the applicable response deadline will result in the ABANDONMENT of your application. For
more information regarding abandonment, see http://www.uspto.gov/trademarks/basics/abandon.jsp.

PRIVATE COMPANY SOLICITATIONS REGARDING YOUR APPLICATION: Private companies not associated with the USPTO are
using information provided in trademark applications to mail or e-mail trademark-related solicitations. These companies often use names that
closely resemble the USPTO and their solicitations may look like an official government document. Many solicitations require that you pay
“fees.”

Please carefully review all correspondence you receive regarding this application to make sure that you are responding to an official document
from the USPTO rather than a private company solicitation. All official USPTO correspondence will be mailed only from the “United States
Patent and Trademark Office” in Alexandria, VA; or sent by e-mail from the domain “@uspto.gov.” For more information on how to handle
private company solicitations, see http://www.uspto.gov/trademarks/solicitation_warnings.jsp.




                                                              PX 55                                FTC-MOBE-003829
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PTO Form 1553 (Rev 09/2005)
OMB No. 0651-0054 (Exp 10/31/2017)


                                                   Trademark/Service Mark Statement of Use
                                                         (15 U.S.C. Section 1051(d))


                                                      The table below presents the data as entered.

                                     Input Field                                                                Entered
             SERIAL NUMBER                                            86949057
             LAW OFFICE ASSIGNED                                      LAW OFFICE 117
             EXTENSION OF USE                                         NO
             MARK SECTION
             MARK                                                     https://tmng-al.uspto.gov/resting2/api/img/86949057/large
             LITERAL ELEMENT                                          BTAM
             STANDARD CHARACTERS                                      YES
             USPTO-GENERATED IMAGE                                    YES
                                                                      The mark consists of standard characters, without claim to any particular font
             MARK STATEMENT
                                                                      style, size or color.
             OWNER SECTION
             NAME                                                     Mobe
             INTERNAL ADDRESS                                         B1-28-8, Soho Suites at DCLL
             STREET                                                   No. 20 Jalan Perak, 50450
             CITY                                                     Kuala Lumpur
             COUNTRY                                                  Malaysia
             GOODS AND/OR SERVICES SECTION
             INTERNATIONAL CLASS                                      035
                                                                      Development of marketing strategies, concepts and tactics, namely, audience
                                                                      development, brand awareness, online community building and digital word
             CURRENT IDENTIFICATION
                                                                      of mouth communications; Providing information in the field of marketing
                                                                      and on-line marketing media via the Internet
             GOODS OR SERVICES                                        KEEP ALL LISTED
             FIRST USE ANYWHERE DATE                                  08/10/2017
             FIRST USE IN COMMERCE DATE                               08/10/2017
             SPECIMEN FILE NAME(S)

                  ORIGINAL PDF FILE                                   SPN0-1-50192201202-20170928180529279043_._Specimen_1_BTAM.pdf
                  CONVERTED PDF FILE(S)
                                                                      \\TICRS\EXPORT17\IMAGEOUT17\869\490\86949057\xml6\SOU0002.JPG
                  (6 pages)

                                                                      \\TICRS\EXPORT17\IMAGEOUT17\869\490\86949057\xml6\SOU0003.JPG
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                                                                      \\TICRS\EXPORT17\IMAGEOUT17\869\490\86949057\xml6\SOU0005.JPG



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                                     \\TICRS\EXPORT17\IMAGEOUT17\869\490\86949057\xml6\SOU0006.JPG
                                     \\TICRS\EXPORT17\IMAGEOUT17\869\490\86949057\xml6\SOU0007.JPG
  ORIGINAL PDF FILE                  SPN0-50192201202-20170928180529279043_._Specimen_2_BTAM.pdf
  CONVERTED PDF FILE(S)
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  (3 pages)

                                     \\TICRS\EXPORT17\IMAGEOUT17\869\490\86949057\xml6\SOU0009.JPG
                                     \\TICRS\EXPORT17\IMAGEOUT17\869\490\86949057\xml6\SOU0010.JPG
SPECIMEN DESCRIPTION                 Website printouts from mobe.com.
INTERNATIONAL CLASS                  041
                                     Arranging and conducting business seminars in the field of marketing;
CURRENT IDENTIFICATION
                                     Conducting workshops and seminars in marketing
GOODS OR SERVICES                    KEEP ALL LISTED
FIRST USE ANYWHERE DATE              08/10/2017
FIRST USE IN COMMERCE DATE           08/10/2017
SPECIMEN FILE NAME(S)

  ORIGINAL PDF FILE                  SPN1-50192201202-20170928180529279043_._Specimen_1_BTAM.pdf
  CONVERTED PDF FILE(S)
                                     \\TICRS\EXPORT17\IMAGEOUT17\869\490\86949057\xml6\SOU0011.JPG
  (6 pages)

                                     \\TICRS\EXPORT17\IMAGEOUT17\869\490\86949057\xml6\SOU0012.JPG
                                     \\TICRS\EXPORT17\IMAGEOUT17\869\490\86949057\xml6\SOU0013.JPG
                                     \\TICRS\EXPORT17\IMAGEOUT17\869\490\86949057\xml6\SOU0014.JPG
                                     \\TICRS\EXPORT17\IMAGEOUT17\869\490\86949057\xml6\SOU0015.JPG
                                     \\TICRS\EXPORT17\IMAGEOUT17\869\490\86949057\xml6\SOU0016.JPG
  ORIGINAL PDF FILE                  SPN1-50192201202-20170928180529279043_._Specimen_2_BTAM.pdf
  CONVERTED PDF FILE(S)
                                     \\TICRS\EXPORT17\IMAGEOUT17\869\490\86949057\xml6\SOU0017.JPG
  (3 pages)

                                     \\TICRS\EXPORT17\IMAGEOUT17\869\490\86949057\xml6\SOU0018.JPG
                                     \\TICRS\EXPORT17\IMAGEOUT17\869\490\86949057\xml6\SOU0019.JPG
SPECIMEN DESCRIPTION                 Website printouts from mobe.com.
REQUEST TO DIVIDE                    NO
PAYMENT SECTION
NUMBER OF CLASSES IN USE             2
SUBTOTAL AMOUNT [ALLEGATION OF USE
                                     200
FEE]

TOTAL AMOUNT                         200
SIGNATURE SECTION
DECLARATION SIGNATURE                / Mark W. Ford /
SIGNATORY'S NAME                     Mark W. Ford
SIGNATORY'S POSITION                 Attorney of Record
DATE SIGNED                          09/28/2017



                                           PX 55                                FTC-MOBE-003831
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FILING INFORMATION
SUBMIT DATE                    Thu Sep 28 18:23:24 EDT 2017
                               USPTO/SOU-XXX.XX.XXX.XXX-
                               20170928182324533015-8694
                               9057-510f7fe97615c506499a
TEAS STAMP                     4b3f72731662b3b4246da18ac
                               c68e4088cb5ae43862c941-CC
                               -5842-2017092818052927904
                               3




                                    PX 55                     FTC-MOBE-003832
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PTO Form 1553 (Rev 09/2005)
OMB No. 0651-0054 (Exp 10/31/2017)




                                                      Trademark/Service Mark Statement of Use
                                                            (15 U.S.C. Section 1051(d))
To the Commissioner for Trademarks:
MARK: BTAM(Standard Characters, see https://tmng-al.uspto.gov/resting2/api/img/86949057/large)
SERIAL NUMBER: 86949057



The applicant, Mobe, having an address of
    B1-28-8, Soho Suites at DCLL
    No. 20 Jalan Perak, 50450
    Kuala Lumpur,
    Malaysia
is submitting the following allegation of use information:

For International Class 035:
Current identification: Development of marketing strategies, concepts and tactics, namely, audience development, brand awareness, online
community building and digital word of mouth communications; Providing information in the field of marketing and on-line marketing media via
the Internet

The mark is in use in commerce on or in connection with all of the goods/services, or to indicate membership in the collective organization listed
in the application or Notice of Allowance or as subsequently modified for this specific class.

The mark was first used by the applicant, or the applicant's related company, licensee, or predecessor in interest at least as early as 08/10/2017,
and first used in commerce at least as early as 08/10/2017, and is now in use in such commerce. The applicant is submitting one specimen for the
class showing the mark as used in commerce on or in connection with any item in the class, consisting of a(n) Website printouts from mobe.com..

Original PDF file:
SPN0-1-50192201202-20170928180529279043_._Specimen_1_BTAM.pdf
Converted PDF file(s) (6 pages)
Specimen File1
Specimen File2
Specimen File3
Specimen File4
Specimen File5
Specimen File6
Original PDF file:
SPN0-50192201202-20170928180529279043_._Specimen_2_BTAM.pdf
Converted PDF file(s) (3 pages)
Specimen File1
Specimen File2
Specimen File3


For International Class 041:
Current identification: Arranging and conducting business seminars in the field of marketing; Conducting workshops and seminars in marketing

The mark is in use in commerce on or in connection with all of the goods/services, or to indicate membership in the collective organization listed
in the application or Notice of Allowance or as subsequently modified for this specific class.

The mark was first used by the applicant, or the applicant's related company, licensee, or predecessor in interest at least as early as 08/10/2017,
and first used in commerce at least as early as 08/10/2017, and is now in use in such commerce. The applicant is submitting one specimen for the
class showing the mark as used in commerce on or in connection with any item in the class, consisting of a(n) Website printouts from mobe.com..

Original PDF file:


                                                                             PX 55                                         FTC-MOBE-003833
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SPN1-50192201202-20170928180529279043_._Specimen_1_BTAM.pdf
Converted PDF file(s) (6 pages)
Specimen File1
Specimen File2
Specimen File3
Specimen File4
Specimen File5
Specimen File6
Original PDF file:
SPN1-50192201202-20170928180529279043_._Specimen_2_BTAM.pdf
Converted PDF file(s) (3 pages)
Specimen File1
Specimen File2
Specimen File3


The applicant is not filing a Request to Divide with this Allegation of Use form.


A fee payment in the amount of $200 will be submitted with the form, representing payment for the allegation of use for 2 classes.


                                                                   Declaration

        The signatory believes that the applicant is the owner of the mark sought to be registered.
        For a trademark or service mark application, the mark is in use in commerce on or in connection with all the goods/services in the
        application or notice of allowance, or as subsequently modified.
        For a collective trademark, collective service mark, collective membership mark application, the applicant is exercising legitimate
        control over the use of the mark in commerce by members on or in connection with all the goods/services/collective membership
        organization in the application or notice of allowance, or as subsequently modified.
        For a certification mark application, the applicant is exercising legitimate control over the use of the mark in commerce by authorized
        users on or in connection with the all goods/services in the application or notice of allowance, or as subsequently modified, and the
        applicant is not engaged in the production or marketing of the goods/services to which the mark is applied, except to advertise or
        promote recognition of the certification program or of the goods/services that meet the certification standards of the applicant.
        The specimen(s) shows the mark as used on or in connection with the goods/services/collective membership organization in commerce.
        To the best of the signatory's knowledge and belief, no other persons, except, if applicable, authorized users, members, and/or
        concurrent users, have the right to use the mark in commerce, either in the identical form or in such near resemblance as to be likely,
        when used on or in connection with the goods/services/collective membership organization of such other persons, to cause confusion or
        mistake, or to deceive.
        To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
        allegations and other factual contentions made above have evidentiary support.
        The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
        1001, and that such willful false statements and the like may jeopardize the validity of the application or submission or any registration
        resulting therefrom, declares that all statements made of his/her own knowledge are true and all statements made on information and
        belief are believed to be true.



Signature: / Mark W. Ford / Date Signed: 09/28/2017
Signatory's Name: Mark W. Ford
Signatory's Position: Attorney of Record

RAM Sale Number: 86949057
RAM Accounting Date: 09/29/2017

Serial Number: 86949057
Internet Transmission Date: Thu Sep 28 18:23:24 EDT 2017
TEAS Stamp: USPTO/SOU-XXX.XX.XXX.XXX-201709281823245



                                                                 PX 55                                 FTC-MOBE-003834
     Case 6:18-cv-00862-RBD-DCI Document 3-87 Filed 06/04/18 Page 53 of 53 PageID 3949

33015-86949057-510f7fe97615c506499a4b3f7
2731662b3b4246da18acc68e4088cb5ae43862c9
41-CC-5842-20170928180529279043




                                           PX 55               FTC-MOBE-003835
